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&lt;br&gt;&lt;br&gt;&lt;div align="center"&gt;&lt;b&gt;&lt;font size="+1"&gt;Compas Medical, P.C., as Assignee of KEVIN JACQUES, Appellant, &nbsp;

&lt;br&gt;&lt;br&gt;against&lt;br&gt;&lt;br&gt;Travelers Insurance Company, Respondent.&lt;/font&gt;&lt;/b&gt;&lt;/div&gt;&lt;br&gt;&lt;br&gt; 

 

 

 

&lt;p&gt;Appeal from an order of the Civil Court of the City of New York, Queens County (Ulysses Bernard Leverett, J.), entered March 18, 2014. The order, insofar as appealed from as limited by the brief, granted the branches of defendant's motion seeking summary judgment dismissing the sixth through eighth causes of action.&lt;/p&gt; 

 

 

 

 

&lt;p&gt;ORDERED that the order, insofar as appealed from, is affirmed, with $25 costs.&lt;/p&gt; 

&lt;p&gt;In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals, as limited by its brief, from so much an order of the Civil Court as granted the branches of defendant's motion seeking summary judgment dismissing the sixth through eighth causes of action on the ground that plaintiff had failed to provide requested verification.&lt;/p&gt; 

&lt;p&gt;For the reasons stated in &lt;i&gt;Compas Med., P.C., as Assignee of Kevin Jacques v Travelers Ins. Co.&lt;/i&gt; (
 [appeal No. 2014-766 Q C], decided herewith), the order, insofar as appealed from, is affirmed.&lt;/p&gt; 

&lt;p&gt;Pesce, P.J., Aliotta and Solomon, JJ., concur.&lt;/p&gt; 

&lt;br&gt;Decision Date: October 05, 2016 

 

 

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